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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 VEROBLUE FARMS USA, INC.,                      §
    Plaintiff                                   §
                                                §
     v.                                         §          CIVIL ACTION NO. 3:19-CV-00764-X
                                                §
 LESLIE A. WULF, ET AL.,                        §
    Defendants                                  §


 PLAINTIFF VEROBLUE FARMS USA, INC.’S REPLY BRIEF IN SUPPORT OF ITS
                  MOTION TO COMPEL DISCOVERY

          Plaintiff VeroBlue Farms USA, Inc. (“Plaintiff” or “VBF”) submits the following reply in

support of its Motion to Compel Discovery [Dkt. 135] (“Motion”):

A.        VBF’s requests for financial information are both relevant and proportional.

          1.     Responding Founders’ financial information is relevant to more than VBF’s
                 punitive damages claim.

          Responding Founders incorrectly argue that the discovery sought regarding the

Responding Founders’ financial information is relevant only to Founders’ net worth for the

purpose of VBF’s punitive damages claim. See Resp. at 6. To the contrary, the Responding

Founders’ financial information is relevant to claims at issue in this case other than VBF’s punitive

damages claim, including, but not limited to, VBF’s fraudulent concealment, fraudulent

misrepresentation, and breach of fiduciary duty claims.

          Indeed, this Court has already held that information pertaining to Responding Founders’

personal bank accounts is relevant under Rule 26. Order, Dkt. 141 at 3. Since VBF filed its

Motion, this Court issued an opinion granting in part and denying in part the Responding Founders’

Motion to Quash Subpoenas or for Protective Order on August 20, 2019 [Dkt. 37]. Importantly,

this Court held that the discovery sought by VBF relating to Responding Founders’ personal bank

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account records from July 2014 to the present “was relevant to the claims in, and proportional to

the needs of, this case ― even without reaching the issue of whether discovery related to possible

punitive damages is appropriate at this time.” Dkt. 141 at 3.

        As indicated by the Court’s opinion, the Founders’ financial records are generally relevant

to the claims in this case. 1 Those claims encompass VBF’s allegations that Responding Founders

squandered tens of millions of dollars in VBF funds and drained VBF of cash and assets for the

benefit of themselves, their relatives, and other entities that they owned and/or controlled. In order

for VBF to fully understand the extent to which Responding Founders wasted and misappropriated

company funds for their personal use, VBF needs information regarding Responding Founders’

income, finances, bank accounts, and affiliated entities. 2 As explained in further detail in Section

I.A.2, the financial information that is in VBF’s possession is insufficient to understand whether

certain transactions were fraudulent.

        Citing a state statute, Texas Civil Practice & Remedies Code Section 41.0115, Responding

Founders argue that procedurally, VBF must first submit a motion demonstrating a substantial

likelihood of success on the merits of a claim for exemplary damages before it is allowed to obtain

net worth discovery. Resp. at 7. Yet, the Responding Founders do not—and cannot—cite a single

case to support that Section 41.0115 applies in federal court. In fact, VBF could not locate one


1
 Responding Founders argue the wrong relevance standard in their objections to VBF’s discovery.
As this Court previously ruled, the 2015 amendments to Rule 26 deleted from the definition of
relevance information that appears “reasonably calculated to lead to the discovery of admissible
evidence.” Dkt. 141 at 3.
2
  As indicated in the undersigned counsel’s July 2, 2019 deficiency letter, VBF intended Request
for Production No. 5 to request financial records relating to Defendants’ Affiliated Entities. See
Mot., Ex. J, App. 180. Further, as reflected in that same correspondence, VBF intended to limit
Wulf Interrogatory No. 13 to request the identity of professionals that “performed services for him,
any other Defendant, and any Defendants’ Affiliated Entities, or any other member of Defendants’
Family who were paid with VBF funds.” Id. at 174.

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federal court decision holding that this procedural statute applied in federal court, and other federal

courts have found that statutes similar to Section 41.0115 are procedural rules that do not apply in

federal court. 3 Further, that this information is also relevant to VBF’s punitive damages claim

does not discount its relevance to underlying substantive claims at issue, such as VBF’s fraudulent

concealment, breach of fiduciary, fraudulent misrepresentation, constructive fraud, civil

conspiracy, unjust enrichment and equitable accounting claims, to which this statute would not

apply in any case.

        2.     VBF’s requests for financial information are proportional.

        Plaintiff seek to enforce their requests only as to financial documents from July 2014 to

the present, consistent with the Court’s recent ruling on the relevant time frame for the bank

subpoenas previously issued by VBF. See Dkt. 141 at 3. 4

        Here, VBF’s discovery requests seeking information regarding the finances, bank

accounts, and property of the Founders and others that they may have fraudulently transferred VBF

funds to, is proportional to the needs of the case. To begin with, as the Amended Complaint



3
  See, e.g., Hullinger v. Anand, CV 15-7185-SJO (FFMx), 2016 WL 7444625, at *1–2 (C.D. Cal.
Oct. 12, 2016) (“California Civil Code section 3295 (“Section 3295”) provides that a plaintiff
seeking punitive damages may not obtain pretrial discovery regarding the defendant’s financial
condition unless the plaintiff obtains a court order upon a showing of “substantial probability” that
the plaintiff will prevail on the claim. Defendants contend that plaintiffs are not entitled to the
information they seek because they failed to obtain a Section 3295 order permitting discovery.
With respect to state law claims, federal courts apply federal procedural law and state substantive
law. Whether a plaintiff is entitled to punitive damages is a substantive matter and thus a question
of state law. However, Section 3295 is ‘clearly a procedural law,’ as it ‘merely restricts when and
how evidence of a defendant’s financial condition is obtained.’ Discovery ‘is a procedural matter
governed in the federal courts by the Federal Rules of Civil Procedure. Thus, state discovery
practices are usually irrelevant.’ Accordingly, the Erie doctrine precludes application of Section
3295 in federal court.”) (internal citations omitted).
4
 In the alternative, the Court should compel the production of financial information from July
2014 up until the time each of the Responding Founders left VBF.

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indicates, the amount in controversy exceeds millions ($90 million as set forth in VBF’s proposed

second amended complaint) , which is the amount that VBF alleges the Responding Founders

wasted and pilfered from the company. The issues to be resolved in this case are important—the

extent to which the Founders’ squandered and misappropropriated company money invested by

others for their personal benefit. The Responding Founders’ actions were so grave that they drove

VBF into bankruptcy. It is important that VBF understand where this money went so that it may

try to recover any funds that were misappropriated by the Responding Founders.

       While the Responding Founders argue that VBF is in possession of all the information it

needs, this is not the case. Responding Founders were not merely fiduciaries to VBF, but they

also controlled VBF at all relevant times. This includes control over VBF’s finances and financial

records. Prior to, and throughout this litigation, Responding Founders have not been forthcoming

on financial issues. Thus, VBF cannot be sure that all of the company’s financial records were

properly created, kept, and/or maintained. Further, although VBF’s books and records reveal

numerous transactions to and from entities controlled or owned by Responding Founders, VBF’s

financial information is insufficient to understand the necessary details of these transactions to

determine and show whether they were fraudulent (or otherwise improper). As they were in

control of VBF during the relevant time, the Responding Founders—not VBF—are in the best

position to know whether, and to what extent, VBF funds were wasted and misappropriated and to

have and know about records that go to those issues.

       The Responding Founders’ conclusory assertions alone fail to establish that the requested

discovery was designed to harass and intimidate the Responding Founders and their families or is

otherwise improper. The Responding Founders do not explain why discovery regarding the

financial information of their relatives is improper, and the allegations in this lawsuit show that it



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is not. The Responding Founders involved their family members, associates, and affiliated entities

in the fraudulent scheme and in particular the use and receipt of VBF funds, which is why

discovery regarding their family and affiliated entities is necessary. Moreover, the Responding

Founders’ concern that the discovery requests seek sensitive financial information concerning the

Founders’ family members and affiliated entities does not permit them to resist discovery, as their

concerns are safeguarded by the agreed protective order issued in this case. See Dkt. 112. 5

        3.     Responding Founders’ tax returns are relevant and there is a compelling need
               for their disclosure.

        Responding Founders do not deny that they were fiduciaries to VBF, and that the nature of

the misconduct alleged by VBF against them is financial. “One who stands in a confidential or

fiduciary relation to the other party to a transaction must disclose material facts.” Giebink v.

Giebink, No. 08-CV-4184, 2009 WL 1350805, at *5 (D.S.D. May 12, 2009). And those material

facts that must be disclosed can include personal financial information such as tax returns. For

example, the Responding Founders’ personal income tax returns may reveal whether the

Responding Founders treated any of the alleged misappropriations of VBF funds for their personal

benefit as income on their personal tax returns and the amount of income or other tax benefits

accrued to the Founders by VBF. The Responding Founders’ personal tax returns may reveal

related business entities (and possible alter-egos of the Responding Founders) that they own and

in which they drew any income or dividends while at VBF. Only through the Responding

Founders’ personal tax returns will VBF be able to understand the amount of income or other tax

benefits accrued to the Founders by VBF and the landscape of the interest, capital returns,

distributions, and dividends that they have earned between 2014-18.


5
 See also Alvarez v. Aldi (Texas) LLC, 3:13-CV-4122-L, 2014 WL 3624929, at *3 (N.D. Tex. July
22, 2014).

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        Moreover, the Responding Founders have not—and cannot—show that the information

contained in their tax returns is otherwise readily available through alternative forms of discovery.

See Resp. at 8. As noted above, the Responding Founders were in control of VBF during the

relevant time, and VBF cannot be sure that all of the records were properly created, kept, and/or

maintained. Because tax returns are signed under penalty of perjury, they are generally more

reliable than other sources of information.          While deposition testimony and answers to

interrogatories are sworn to under the penalty of perjury, they cannot depict the requested financial

information as accurately and reliably as a tax return.

        Moreover, only by issuing a subpoena to each and every bank in existence will VBF get a

full picture of the Responding Founders’ bank accounts. 6 This is burdensome, inefficient, and

VBF cannot possibly find all of the banks, especially because they may be in Canada, where the

Responding Founders are from. As such, the Responding Founders’ tax returns may be the only

means of obtaining information into all the other brokerage/investment accounts that the

Responding Founders may have, as business bank information through Experian or other third-

party source can be incomplete. Furthermore, the sheer number of corporations in which the

Responding Founders have a possible ownership or equity interest would require an individual

inquiry (at a significant cost) of each entity. 7 Tax returns would be cost effective and the only

guaranteed way to get the information about the Responding Founders’ businesses.




6
 To date, VBF has only subpoenaed records about individual accounts known to VBF, but this
does not necessarily include all accounts associated with the Responding Founders’ social security
numbers.
7
 Based on VBF’s research, VBF believes that the Responding Founders may have owned and/or
had an interest in as many as 95 different business entities.

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B.      VBF’s request for Responding Founders’ communications with the Nelson Family
        and Randy Chalfant is relevant to the claims in this action and proportional.

        Responding Founders contend that VBF’s Request for Production No. 81, seeking

communications with the Nelson Family or Randy Chalfant, is targeted toward “those who

objected to VBF’s bankruptcy reorganization plan, actions that took place long after Founders

were terminated.” Resp. at 8-9. 8 This is patently wrong.

        The Nelsons and Randy Chalfant are key witnesses to the underlying events alleged in

VBF’s Amended Complaint (as well as VBF’s pending Proposed Second Amended Complaint)—

events that occurred long before the Founders were terminated and VBF filed for bankruptcy.

The Nelsons are the original owners of VBF and sold their business to the Founders in 2014 and

continued to work at VBF in various capacities along with the Founders. Nelson family members

like Mark Nelson were involved in promoting the technology at issue that ultimately proved to be

an utter failure and which the Founders’ misrepresented to investors. Furthermore, Chalfant, who

was the maintenance manager at VBF starting in 2016, may be able to testify as to the Founders’

waste and misappropriation of VBF funds. As such, Responding Founders’ communications with

these key witnesses are directly relevant to VBF’s allegations regarding the Responding Founders’

fraudulent misrepresentations and waste and misappropriation of VBF funds and proportional to



8
  With respect to Interrogatory No. 18 directed at James Rea, seeking “communications between
Defendants or Defendants’ counsel on the one hand, and Kenneth Lockard, Beecher, Field,
Walker, Morris, Hoffman & Johnson, P.C., FishDish LLC, Goldstein & McClintock LLP, or
Horwood Marcus & Berk Chartered, on the other hand,” VBF withdraws this interrogatory, in
light of the Court’s recent August 20, 2019 Order. Dkt. 141 at 2-3.

Unlike the non-bank subpoenas that the Court previously quashed, the discovery sought regarding
the Responding Founders’ communications with the Nelsons and Chalfant are not related to the
bankruptcy proceeding, but are directly related to VBF’s fraud allegations in the lawsuit. That
they were involved in the VBF bankruptcy does not automatically render these requests irrelevant
or disproportionate.

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the needs of this case. To the extent that Responding Founders argue that this Court “already

found” that communications the Responding Founders had with the Nelsons are not relevant to

VBF’s claims, this is incorrect. See Resp. at 9. None of the subpoenas subject to their Motion to

Quash were to the Nelsons, and the Court has made no findings as to the relevance or

proportionality of these requests. As the Nelsons are material witnesses to this lawsuit, the Court

should allow discovery of the Responding Founders’ communications with the Nelsons.

C.     Responding Founders cannot stand on unsupported privilege objections.

       Responding Founders contend that their communications with the Nelsons and Chalfant

are “protected by the attorney-client, work product, and/or common interest privilege.” Resp. at

9 n.6 (citation omitted). Like the privilege assertions made in their Motion to Quash [Dkt. 37], the

Responding Founders have wholly failed to support their privilege claims here.

       To comply with the requirements to support withholding any responsive document
       or information as privileged or protected work product, a privilege log or equivalent
       document complying with Federal Rule of Civil Procedure 26(b)(5)(A)’s
       requirements must be produced for any documents, communications, or other
       materials withheld from production on the grounds of attorney-client privilege,
       work product, or other privilege, immunity, or protection.

Heller v. City of Dallas, 303 F.R.D. 466, 486 (N.D. Tex. 2014) (citations omitted). Rule 26(b)(5)

requires that a party claiming a privilege “(i) expressly make the claim; and (ii) describe the nature

of the documents, communications, or tangible things not produced or disclosed—and do so in a

manner that, without revealing information itself privileged or protected, will enable other parties

to assess the claim.” The “party asserting a privilege exemption from discovery bears the burden

of demonstrating its applicability.” In re Santa Fe Int’l Corp., 272 F.3d 705, 710 (5th Cir. 2001)

(footnote and citations omitted).

       To date, Responding Founders “have not submitted a privilege log or otherwise complied

with Federal Rule of Civil Procedure 26(b)(5),” nor have they “submitted any evidence to


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substantiate the elements of each asserted privilege.” Dkt. 141 at 2. Responding Founders again

attempt to avoid responding to discovery by making unsupported privilege claims. This Court,

however, has already advised Responding Founders that they need to comply with Rule 26(b)(5)

when asserting privilege objections. Id. Accordingly, the Court should overrule the Responding

Founders’ unsupported privilege objections and compel production of documents responsive to

Request for Production No. 81.

D.     Responding Founders have not already answered the remaining interrogatories at
       issue.

       Responding Founders assert that they have already answered the remaining requests at

issue, including Wulf Interrogatories Nos. 3 and 7 and Ted Rea Interrogatories Nos. 4 and 17.

Resp. at 10. To the contrary, and as Responding Founders admit, Mr. Wulf refuses to answer the

interrogatories, specifically No. 7, with respect to any of his family members other than his

daughter, Christine Gagne, or the other defendants’ family members.           Id.   According to

Responding Founders, Mr. Wulf “is unlikely to have knowledge with respect to the payments to

other Founders or their families.” That he is “unlikely” to have knowledge of such payments is

insufficient. Either Mr. Wulf has or does not have personal knowledge with respect to the

payments to other Founders or their families. He cannot hide behind an objection based on an

assertion that “he is unlikely to have” such knowledge. An “evasive or incomplete disclosure,

answer, or response must be treated as a failure to disclose, answer, or respond.” Fed. Civ. R. P.

37(a)(4). For the same reasons explained above in Section I.A, payments made by VBF to Mr.

Wulf’s family members or the other defendants’ family members is both relevant and proportional

to VBF’s claims in this case. Accordingly, the Court should overrule Mr. Wulf’s objections to

Interrogatories Nos. 3 and 7.




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       Nor has Mr. Ted Rea fully answered Interrogatories Nos. 4 and 17 as Responding Founders

suggest. See Resp. at 10-11. With respect to Interrogatory No. 4, the follow-up questions in the

undersigned counsel’s deficiency letter do not constitute discrete questions. Rather, the questions

merely asked for additional clarification and specifics on the bare-bones answer already provided

by Mr. Ted Rea as responsive to the interrogatory. Moreover, the answers go to whether Mr. Ted

Rea is properly characterizing himself as not receiving these payments. But, to the extent the court

finds that they are separate interrogatories or subparts, VBF understands they would exceed the

limit and withdraw them. Mr. Ted Rea also objected to providing information in response to

Interrogatory No. 17, which asked him to identify professionals, including attorneys, accountants,

consultants, etc. who performed any services for VBF. He objected to the extent it “ask[ed] him

to attest to the collective decisions of VBF,” and sought information and records that he did not

have access to, but “subject to these objections,” he stated that “he cannot recall every service

provider who may have performed services for VBF during his tenure.” Mot. Ex. H, App. 152.

His response indicates that there were indeed service providers that performed services for VBF.

That Mr. Ted Rea states he cannot recall every service provider is insufficient. Burns v. Thiokol

Chem. Corp., 483 F.2d 300, 307 (5th Cir. 1973) (“[T]he fact that an interrogatory calls for a list

does not make it improper . . . .”). He must fully respond to the interrogatory and state those

service providers that he can recall. If he cannot recall any service providers at all, then he must

state so in his response. See Wright, Miller, & Marcus, Fed. Prac. & Proc. Civ. § 2177 (3d ed.)

(“If a party is unable to give a complete answer to an interrogatory, it should furnish any relevant

information that is available.”).




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Dated: September 6, 2019.             Respectfully submitted,

                                      /s/ Nicole Williams
                                      Nicole Williams
                                      Texas Bar No. 24041784
                                      nicole.williams@tklaw.com
                                      William L. Banowsky
                                      Texas Bar No. 01697125
                                      bill.banowsky@tklaw.com
                                      Jasmine S. Wynton
                                      Texas Bar No. 24090481
                                      jasmine.wynton@tklaw.com
                                      THOMPSON & KNIGHT LLP
                                      One Arts Plaza
                                      1722 Routh Street, Suite 1500
                                      Dallas, TX 75201
                                      214-969-1149

                                      /s/ Robert H. Lang
                                      Robert H. Lang
                                      (appearing pro hac vice)
                                      rhlang@thompsoncoburn.com
                                      Patrick Morales-Doyle
                                      (appearing pro hac vice)
                                      pmoralesdoyle@thompsoncoburn.com
                                      Caroline Pritikin
                                      (appearing pro hac vice)
                                      cpritikin@thompsoncoburn.com
                                      Eileen E. Boyle Perich
                                      (appearing pro hac vice)
                                      eboyleperich@thompsoncoburn.com
                                      Adam C. Decker
                                      (appearing pro hac vice)
                                      adecker@thompsoncoburn.com
                                      THOMPSON COBURN LLP
                                      55 East Monroe, 37th Floor
                                      Chicago, IL 60603
                                      312-346-7500

                                      ATTORNEYS FOR PLAINTIFF
                                      VEROBLUE FARMS USA, INC.




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                              CERTIFICATE OF SERVICE

       This document was filed electronically on September 6, 2019, and, in compliance with
Local Civil Rule LR 5.1(d), a copy of this document has been served on all counsel of record.

                                                  /s/ Nicole Williams
                                                  Nicole Williams




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